Case 2:07-cr-20037-VAR-MKM ECF No. 77, PagelD.670 Filed 03/03/09 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION —

UNITED STATES OF AMERICA,
Case No. 07-CR-20037-DT-03
Plaintiff, HON. VICTORIA ROBERTS

V.
BRYAN S.J. MALLINDINE,

Defendant.
/

SUPPLEMENT TO SENTENCING MEMORANDUM

NOW COMES the Defendant, Bryan S.J. Mallindine, by and through his attorney,
Neil H. Fink, and in support of his request for a non-custodial sentence, Defendant
respectfully directs this court’s attention to United States v Kuhn on remand, 351
F.Supp. 2d 696 (E.D. Mich 2005).

Defendant respectfully urges that Judge Lawson’s opinion may be helpful to this

court in arriving at a just sentence.

Respectfully submitted:

s/Neil H. Fink

Neil H. Fink (P13430)
Attorney for Defendant

185 Oakland Avenue, Ste. 250
Birmingham, MI 48009

(248) 258-3181

Email: dadcoach23@aol.com

Dated: March 3, 2009

 
Case 2:07-cr-20037-VAR-MKM ECF No. 77, PagelD.671 Filed 03/03/09 Page 2 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
Case No. 07-CR-20037-DT-03
Plaintiff, HON. VICTORIA ROBERTS

V.
BRYAN S.J. MALLINDINE,

Defendant.
/

NEIL H. FINK, being first duly sworn, deposes and says that on the 3rd day of March,
2009, he served Defendant’s Supplement to Sentencing Memorandum and this
Certificate of Service upon:

Mark Chutkow

Assistant United States Attorney
211 West Fort Street, Suite 2001
Detroit, MI 48226-3211

(313) 226-9100
Mark.chutkow@usdoj.gov

| also certify that I will provide a courtesy copy to the Chambers of the Honorable
Victoria Roberts, United States District Court Judge, and:

Lisa A. Fields

United States Probation

Theodore Levin Courthouse

231 W. Lafayette, Room 901

Detroit, MI 48226

(313) 226-9168
s/Neil H. Fink
Neil H. Fink (P13430)
Attorney for Defendant
185 Oakland Avenue, Ste. 250
Birmingham, MI 48009
(248) 258-3181
Email: dadcoach23@aol.com

 

 
